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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ONLINE MERCHANTS GUILD,                    :   CIVIL ACTION NO. 1:21-CV-369
                                           :
                     Plaintiff             :   (Judge Conner)
                                           :
               v.                          :
                                           :
C. DANIEL HASSELL, in his                  :
official capacity as SECRETARY             :
OF REVENUE, DEPARTMENT                     :
OF REVENUE,                                :
                                           :
                     Defendant             :

                                       ORDER

      AND NOW, this 28th day of May, 2021, upon consideration of the motion

(Doc. 9) for preliminary injunction by plaintiff and the motion (Doc. 38) to dismiss

by defendant, and the parties’ respective briefs in support of and opposition to said

motions, and for the reasons set forth in the accompanying memorandum, it is

hereby ORDERED that:

      1.       The motion (Doc. 38) to dismiss is GRANTED.

      2.       The motion (Doc. 9) for preliminary injunction is DENIED as moot.

      3.       The Clerk of Court is DIRECTED to CLOSE this case.




                                        /S/ CHRISTOPHER C. CONNER
                                        Christopher C. Conner
                                        United States District Judge
                                        Middle District of Pennsylvania
